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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                          No. 21-cr-399 (RDM)
             Plaintiff,
  v.

  ROMAN STERLINGOV

             Defendant.




                                  [PROPOSED] ORDER

       Upon consideration of the Defendant’s Notice of Withdrawal of pro hac vice attorney,

Tauseef Ahmed, it is hereby

       ORDERED, that the Tauseef Ahmed be removed as an attorney from this case.


Dated this _____ day of February 2024.


                                           __________________________________
                                           HON. RANDOLPH D. MOSS
                                           UNITED STATES DISTRICT JUDGE
